Case 2:04-CV-02374-SHI\/|-tmp Document 35 Filed 04/18/05 Page 1 of 3 Page|D 70

IN THE UNI'I'ED sTATEs DISTRICT coUR'i_'F“_E;), , r_d
FOR THE wEsTERN DISTRICT oF TENNESS`EE `
wEsTERN DIVISION 05 APR \8 AH\U; l]._

 

RoBERT _R- D‘ 'LE`"‘OL‘€
§Jf§_n§i= UT§ H§s:dp&\s

MONICA JOHNSON, Surviving Spouse, )

on her own behalf, and on behalf )

of XAVIER J. JOHNSON, JR., a minor, )

as mother, next friend, and natural )

guardian, as next kin of XAVIER

JOHNSON, deceased,

Plaintiff,

v. No. 04-23'74 Ma/P
CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION, MELVIN
RICE, individually and in his
official capacity as an officer of
the City of Memphis Police Dept.,
KENNETH ADAMS, individually and in
his official capacity as an officer )
of the City of Memphis Police Dept.,)
)

Defendants. )

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ORDER GRA.NTING DEFEN'DANT CITY OF MEMPHIS' MOTION TO DISMISS
PLAINTIFF'S CLAIM FOR PUNITIVE DAMAGES

 

On December 6, 2004, defendant City of Memphis filed a motion
to dismiss Johnson's claim against the City of Memphis for punitive
damages. On January 26, 2005, Johnson filed a response stating that
she “has taken the position that the City of Memphis is not liable
for punitive damages. . . . We hereby dismiss that claim in our
amended complaint as to the City of Memphis.” Accordingly, the

court GRANTS defendant City Of Memphis’ motion to dismiss

"'m's document entered on the docket hth in cjo_@p!isnce
i-ith Hu|e 58 and/or 79(a} FHCP on Q"" [¢§ 'O

 

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Plaintiff’s claim against the City of Memphis for punitive damages.

So ordered this 'g[\ day of April 2005.

SAIVIUEL H. MAYS, JR.
UNITED S'I'A'I'ES DISTRICT JU'DGE

 

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02374 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

